
PER CURIAM.
For the reasons stated in State v. Markeith R. Lawrence, ___ N.C. ___, 627 S.E.2d 609, 2006 WL 891104 (2006), we reverse the decision of the Court of Appeals as to defendant's seven convictions for second-degree sexual offense. However, the portion of the Court of Appeals opinion finding no error in nine of defendant's convictions as specified in that opinion remains undisturbed. Pursuant to Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004) and State v. Allen, 359 N.C. 425, 615 S.E.2d 256 (2005), defendant's case is remanded to the Court of Appeals for further remand to the trial court for resentencing consistent with Blakely and Allen.
REVERSED IN PART AND REMANDED.
Justice TIMMONS-GOODSON did not participate in the consideration or decision of this case.
